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                     UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

IN RE:                                          :
                                                :       CASE NO. 19-53270-SMS
JASON WARD FREEMAN,                      :
                                            :           CHAPTER 7
                    Debtor.                 :
_____________________________________ :
                                            :
Martha A. Miller, Trustee for the Chapter 7 :
Estate of Jason Ward Freeman,            :
                                            :
                    Movant,                 :
                                            :
v.                                          :
                                            :
BRENDA FREEMAN,                             :
                                            :
                    Respondent.             :
_____________________________________ :


          MOTION FOR ORDER PURSUANT TO FEDERAL RULE
              OF BANKRUPTCY PROCEDURE 2004 FOR
               EXAMINATION OF BRENDA FREEMAN
     AND DIRECTING BRENDA FREEMAN TO PRODUCE DOCUMENTS

      Martha Miller (“Movant”) as Chapter 7 trustee in the above-captioned case, through

counsel, files a Motion for Order Pursuant to Federal Rule of Bankruptcy Procedure 2004

For Examination of Brenda Freeman (“Ms. Freeman”), and for instructions to Ms. Freeman

to Produce Documents; in support thereof, Movant shows the Court as follows:




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                                         Background

       1.     On March 1, 2019, Jason Ward Freeman (“Debtor”) filed a voluntary petition

for relief pursuant to Chapter 7 of Title 11 of the United States Code (the “Petition Date”).

       2.     The section 341 first meeting of creditors was conducted and concluded on

May 23, 2019.

       3.     At the meeting of creditors, Movant inquired into the acts, conduct, or

property or to the liabilities and financial condition of the Debtor including the matters

related to this Motion. In the meeting, it was disclosed that Debtor has made payments on

an antecedent debt to Brenda Freeman, Debtor’s mother.

                                      Legal Authority

       4.     Rule 2004 provides in part that “[o]n motion of any party in interest, the court

may order the examination of any entity.” Federal Rule of Bankruptcy Procedure 2004(a)

(emphasis added). The Rule further states that such “examination . . . may relate only to

the acts, conduct, or property or to the liabilities and financial condition of the debtor, or

to any matter which may affect the administration of the debtor’s estate, or to the debtor’s

right to a discharge.” F.R.B.P. 2004(b). Movant submits that the requests in this Motion

fall squarely within this mandate.

       5.     Rule 2004(c) provides that “...the production of documentary evidence may

be compelled in the manner provided in Rule 9016.”

       6.     Movant requests that the Court direct Ms. Freeman to produce the documents

requested in Exhibit “A” attached hereto, on or before 5:00 p.m. on July 31, 2019,
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preferably electronically at mmmiller@mmillertrustee.com or at Movant’s mailing address

at P.O. Box 5630, Atlanta, Georgia 31107, and further direct Ms. Freeman to appear for an

examination by Movant at a mutually agreed to date and time at Movant’s office at 125

Clairemont Road, Suite 440, Decatur, Georgia 30030, within thirty (30 ) days from the

production of the documents to Movant identified in Exhibit “A.”

      WHEREFORE, Movant respectfully requests that the Court enter an Order as

follows:

       a)    directing that Ms. Freeman produce documents as requested in Exhibit “A”

             pursuant to Rule 2004(c) by the close of business on July 31, 2019, as set

             forth above;

      b)     directing Ms. Freeman appear for an examination as set forth above; and

      c)     for such other and further relief as the Court deems just and proper.



      This 3d day of July, 2019.

                                          Respectfully submitted,

                                              /s/ Martha A. Miller
                                          Martha A. Miller
                                          Georgia Bar No. 507950
                                          Counsel for Movant



MARTHA MILLER LAW, LLC
P.O. BOX 5630
ATLANTA, GA 31107
(404) 941-7360
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                                  EXHIBIT “A”

                                INSTRUCTIONS


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       Each of the Requests (a “Request”) hereinafter set forth is deemed to be continuing

to the extent permitted by the Federal Rules of Bankruptcy Procedure and the Federal Rules

of Civil Procedure. Movant demands that if at any later date you obtain or discover any

additional documents different from those produced in response to these Requests that fall

within the scope of these Requests, you shall promptly notify counsel for the Movant of

the existence of such documents and permit their inspection and copying within three days

after such documents are obtained or discovered.

       In the event that you wish to assert either the attorney-client privilege or work

product exclusion, or both, or any other privilege as to any document requested herein, then

as to each such document you are requested to provide Movant’s counsel with an

identification of such document in writing, such identification to include: the nature of the

document, the sender, the author, the recipient, the recipient of each copy, the date, a

summary statement of the subject matter of such document in sufficient detail to permit the

Court to reach a determination in the event of a motion to compel production of such

document, and a statement of the basis for assertion of the privilege or exclusion.

       Whenever production is requested of a document which is no longer in your

possession, custody or control, your response should include:

       -       Identify that document by name, date, number of pages, and other

description;

       -       State when the document was most recently in your possession, custody or

control;
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       -      Describe the disposition of the document; and

       -      State the identity of the person now in possession, custody or control of such

document. If the document has been destroyed, the response should state the reason for its

destruction and the identity of the persons who destroyed the document and who directed

that the document be destroyed.

                                       DEFINITIONS

       A.     As used herein, the word "document" is intended to have the broadest

permissible meaning under the Federal Rules of Civil Procedure and shall mean any

written, printed, recorded, taped, electromagnetically recorded or encoded, electronically

stored, graphic or other matter of every type and description that is or has been in the

possession, custody, or control of you or any of your agents and attorneys, or of which

you have knowledge, and shall include without limitation, the following: letters,

correspondence, books, articles, reprints, resolutions, minutes, communications,

messages, e-mails, electronic communications, electronically stored information, notes,

loan documents, collateral documents, stenographic or handwritten notes, memoranda,

diaries, contracts, subcontracts, bids, worksheets, drafts, agreements, records, resumes,

invoices, receipts, bills, cancelled checks, financial statements, audit reports, tax returns,

calendars, schedules, affidavits, statements, summaries, studies, calculations, estimates,

diagrams, sketches, drawings, plans, photographs, tapes, videotapes, movies, recordings,

transcriptions, work orders, computer print-outs, computer disks, data processing cards,

data storage cards, and the like; and where originals of such documents are not available
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or are not in your possession, custody or control, every copy of every such document; and

every copy of every such document where such copy is not an identical copy of the

original or where such copy contains any commentary or notation whatsoever which does

not appear on the original.

       B.     As used herein, “You” or “Yours” refer to Brenda Freeman, including

without limitation her authorized agents, attorneys, representatives, and to any other person

that is or has ever acted for or on her behalf.

       C.     As used herein, the “Case” refers to the Bankruptcy Case filed by Jason Ward

Freeman (“Debtor”) pending in the United States Bankruptcy Court, Northern District of

Georgia, Atlanta Division as Case No. 19-53270-SMS.

       D.     As used herein, “Debtor” refers to Jason Ward Freeman.




                          DOCUMENTS TO BE PRODUCED


1. All documents relating, referring to or supporting the loan of any funds by You to

    Debtor within the last ten (10) years (“Loans”), providing the amount of the Loan(s)

    and the date(s) of the Loans.



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2. All documents relating, referring to or supporting all payments by any method,

   including direct payments on Your obligations, by Debtor to You or on Your behalf,

   for all Loans identified in response to Request No. 1 above, providing the amount of

   each payment, and the date of the payment, from March 1, 2015 to the present.




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                                   CERTIFICATE OF SERVICE

       This is to certify that I have this day served a copy of the foregoing Trustee's
Motion for Rule 2004 Examination of a Corporate Representative of Blackstock’s,
Inc. and Requesting Blackstock’s, Inc. to Produce Documents by depositing the same
in the United States mail with sufficient postage affixed thereto and addressed as follows,
or electronically as indicated:

Office of the United States Trustee
Martin.P.Ochs@usdoj.gov

Brenda Freeman
632 Roxboro Trace
Lawrenceville, GA 30044


This 3d day of July, 2019.


                                            /s/ Martha Miller
                                           Martha A. Miller
                                           Georgia Bar No. 507950
                                           Counsel for Trustee

Martha Miller Law, LLC
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(404) 617-9708
mmiller@mmillertrustee.com




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